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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.

GARY L. GURULE

Plaintiff,

v.

BOARD OF COUNTY COMMISSIONERS FOR ADAMS COUNTY COLORADO;
DOUGLAS N. DARR, in his official capacity as the Sheriff of Adams County;
BRIAN CALDWELL, individually, and in his official capacity as an Adams County Deputy
Sheriff;
PRISON HEALTH SERVICES, INC.; and
JOHN AND JANE DOES 1-10, individually, and in their official capacities, Jointly and
Severally,

Defendants.


         CIVIL RIGHTS COMPLAINT WITH REQUEST FOR TRIAL BY JURY


        Plaintiff Gary L. Gurule, by and through his attorneys, the Law Firm of Portales &

Associates, P.C., by Joseph Oliva, Jr. and R.E. Chips Portales, now complains against the

defendants above-named and requests trial by jury as follows:

                                        INTRODUCTION

        1.     This is an action brought by Gary L. Gurule, a 44 year old man, to vindicate

serious deprivations of his constitutional rights.

        2.     Mr. Gurule is a former inmate at Adams County Detention Facility (“ACDF”),

who now suffers from severe, debilitating permanent injury, having been subjected to a

premeditated, intentional, and brutal assault and battery perpetuated upon his person by one
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Sheriff Deputy Brian Caldwell (“Defendant Caldwell”), a member of the Adams County

Sheriff’s Department.

        3.     As a direct result of the unnecessary, brutal, vicious and outrageous physical

attack upon Mr. Gurule at the hands of Defendant Caldwell, who, by information and belief, is or

was a member of ACDF’s “slam crew,” and by deputies, also members of the Adams County

Sheriff’s Department, who participated in the attack or looked on without taking appropriate

action and the negligent, reckless, deliberately indifferent, insufficient and untimely medical

treatment he received following the attack, Mr. Gurule continues to suffer from permanent

physical injury, ongoing medical expenses, and physical and emotional pain and suffering.

        4.     Defendants’ conduct, under color of state law, proximately caused the deprivation

of Mr. Gurule’s federally protected rights. Defendants’ conduct, done willfully, wantonly, and

negligently, also gives rise to the supplemental state claims.

                                 JURISDICTION AND VENUE

        5.     Plaintiff hereby incorporates paragraphs 1-4 by reference.

        6.     This action arises under the Constitution and laws of the United States, including

Article III, Section 1 of the United States Constitution and 42 U.S.C. § 1983 and 42 U.S.C. §

1988. The Jurisdiction of this Court is further invoked pursuant to 28 U.S.C. §§ 1331, 1343 and

2201.

        7.     This case is instituted in the United States District Court for the District of

Colorado pursuant to 28 U.S.C. § 1391 as the judicial district in which all relevant events and

omissions occurred and in which Defendants maintain offices and/or reside.




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        8.      It is further alleged that the plaintiff suffered damages resulting from Assault and

Battery, Intentional Infliction of Emotional Distress, Negligent Infliction of Emotional Distress,

Negligent Hiring and Retaining Violent and Mentally Unstable Persons, Negligence, Medical

Malpractice, Vicarious Responsibility through Respondeat Superior, and Exemplary Damages

while plaintiff was an inmate housed by the defendants at ACDF.

        9.     Supplemental pendent jurisdiction is based on 28 U.S.C. § 1367 because the

violations of federal law alleged are substantial and the pendent causes of action derive from a

common nucleus of operative facts.

                                             PARTIES

        10.    Plaintiff hereby incorporates paragraphs 1-9 by reference.

        11.    Plaintiff Gary L. Gurule is a citizen of the United States, who is, and has been at

all times relevant to this action, a resident of the State of Colorado.

        12.    Defendant Board of County Commissioners for Adams County Colorado

(“Adams County”) is the public entity legally responsible for Adams County, the Adams County

Sheriff’s Department and ACDF. Defendant Adams County, a governmental entity organized

under the laws of the State of Colorado, is a proper entity to be sued pursuant to 42 U.S.C. §

1983.

        13.    Defendant Adams County is also properly sued directly under 42 U.S.C. §1983

for its own deliberately indifferent unconstitutional decisions, policies, practices, habits,

customs, usages, training and supervision with respect to the proper treatment of prisoners in its

custody and the provision of medical care given to prisoners in its custody.




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       14.     On information and belief, at all times relevant, Defendant Adams County, in an

attempt to discharge its constitutional and statutory duties with respect to the provision of

medical/health care to prisoners at ACDF, contracted to purchase medical services from

Defendant Prison Health Services, Inc. (“Defendant PHS”)

       15.     Defendant Adams County is also properly sued under 42 U.S.C. § 1983 for the

challenged delegated final decisions of Defendants Douglas N. Darr (“Defendant Darr”) in his

official capacity as the Sheriff of Adams County, for those of the Adams County Sheriff’s

Department, individual Defendants, and Defendant PHS, acting as its policy makers and

contractual final delegated decision makers. Mr. Gurule maintains that Defendant Adams County

was deliberately indifferent in ensuring proper training and supervision, as well as deliberately

indifferent to the inadequate policies and practices for the care and treatment of persons

incarcerated at ACDF, who have the right not to be the recipients of unreasonable and excessive

brutal force at the hands of Adams County’s agents and/or; the right to have their serious medical

needs appropriately addressed.

       16.     Defendant Douglas N. Darr (“Defendant Darr”) is sued in his official capacity as

the elected Sheriff of Adams County. Defendant Darr sets official policy for custody, including

proper professional conduct and use of force by the department’s deputies and appropriate

treatment and health care for prisoners and inmates in his custody at ACDF for Adams County

and the Adams County Sheriff’s Department. This policy setting at all times relevant hereto,

included delegating such official policy making, training, and supervision respecting the conduct

of his deputies and medical care to contractor Defendant PHS. Defendant Darr in his official

capacity only is also a proper person to be sued under 42 U.S.C. 1983 for the unconstitutional



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policies, habits, customs, practices, and deliberately indifferent training and supervision

challenged herein.

       17.     The individual defendant, Brian Caldwell (“Defendant Caldwell”) was at all

times relevant to this complaint, duly appointed and an acting officer of the Adams County

Sheriff’s Department, State of Colorado, acting under color of law, to wit, under color of the

statutes, ordinances, regulations, policies, customs and procedures of County of Adams and the

State of Colorado, and acting within the course and scope of his employment at ACDF.

Defendant Caldwell is sued individually and in his official capacity.

       18.     On information and belief, Defendant Caldwell is a resident of Colorado and a

citizen of the United States of America.

       19.     Defendant Prison Health Services, Inc. (“PHS”) is a Delaware corporation with its

principal street address being 105 Westpark Drive, Suite 200, Brentwood, Tennessee, 37027 and

registered agent in the State of Colorado being The Corporation Company, located at 1675

Broadway, Suite 1200, Denver, CO 80202.

       20.     Defendant PHS is a proper entity to be sued under 42 U.S.C. § 1983 for its own

deliberately indifferent policies, practices, habits, customs, procedures, training and supervision

of staff, including individual Defendants, in their role as the final delegated decision and policy

maker for Adams County, with respect to the provision of medical care and treatment for inmates

housed at ACDF.

       21.     Defendant PHS is also properly sued for common law negligence as it is a private

corporation and therefore not entitled to immunity under the Colorado Governmental Immunity

Act.



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       22.     Defendant PHS is sued directly and indirectly for medical malpractice,

negligence, negligent supervision, negligent training of its staff, for failing to ensure the

provision of appropriate care in the treatment of Plaintiff Gurule, for failing to properly treat

him, as well as for the acts and omissions of its agents and/or employees, and for the herein

described acts by its involved employees, agents, staff, and affiliates, all while acting within the

scope and course of their employment.

       23.     The individual defendants referred to as John and Jane Does 1-10 represent

unknown supervisors of the above-named defendants and/or other unknown officers, employees

and agents of Adams County and PHS, who participated in and have responsibility for the

wrongful conduct committed against the plaintiff as is described hereinafter. They are sued

herein both in their individual and official capacities. Plaintiff Gurule will seek leave to amend

this complaint to show their true names and capacities when the same are ascertained.

       24.     All the hereinafter complained of unprivileged conduct by individual Defendants

was under color of state law for purposes of 42 U.S.C. § 1983. Defendants’ actions were

undertaken in bad faith, willfully, recklessly, and/or with such gross negligence as to indicate

wanton disregard and deliberate indifference to Plaintiff Gurule’s civil rights, and/or as delegated

final decision makers for entity Defendants as to the decisions challenged herein.

       25.     At all times relevant to this Complaint, all Defendants, their agents and

employees, were acting under color of state law for purposes of 42 U.S.C. §1983.

                        PROCEDURAL REQUIREMENT: NOTICE

       26.     Plaintiff hereby incorporates paragraphs 1-25 by reference.




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          27.   Proper notice required by §24-10-109, C.R.S. was served upon the Adams County

Attorney and the Adams County Board of Commissioners within the required time period. This

notice set forth the general facts underlying plaintiff’s claims against Adams County and its

agents.

                                   STATEMENT OF FACTS

          28.   Plaintiff hereby incorporates paragraphs 1-27 by reference.

          29.   At all relevant times, Plaintiff Gary L. Gurule (“Plaintiff Gurule”) was an inmate

at the Adams County Detention Center (“ACDF”). Plaintiff Gurule entered into ACDF on

August 26, 2009 and remained there until he was released on November 4, 2009. ACDF is

located at 150 N. 19th Avenue, Brighton, Colorado 80601.

          30.   On the morning of October 23, 2009, in conformance with ACDF daily protocol,

each inmate in housing area B-4, Pod B-452 within ACDF, including Plaintiff Gurule, personally

turned in their ID to one Deputy Adams in exchange for a razor to shave.

          31.   It is believed that the proper and authorized procedure is for each inmate to

personally exchange his ID for a razor but also to receive his ID back from the deputy personally

after handing back his razor. This did not occur.

          32.   After the inmates had completed shaving, Deputy Adams instructed and permitted

one inmate to collect all the razors that had been issued and have this inmate return all of the

razors at one time to Deputy Adams.

          33.   After receiving the razors back, Deputy Adams then gave the collector inmate the

other inmate’s IDs so that he could distribute them back to each respective inmate.




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       34.     When the deputy counted all of the returned razors in his possession, he

mistakenly believed one was missing when in actuality he had miscounted.

       35.     The perceived missing razor inside the jail caused a search, or “shakedown” of all

six living quarters (pods), including those of the inmates housed in section B-4.

       36.     During the shakedown, the inmates, including Plaintiff Gurule, were moved to a

holding area upstairs, known as the programs room, without incident. The programs room has no

bathroom facilities for use by the inmates held there.

       37.     While the inmates remained in the programs room holding area, some for over an

hour, Defendant Caldwell appeared. It was at that time several of the inmates, including Plaintiff

Gurule, asked Defendant Caldwell for permission to use the restroom.

       38.     Defendant Caldwell, when first spoken to, was heard to have responded in a

discourteous manner, asking Plaintiff Gurule, “What the fuck do you want?” Plaintiff Gurule

stated that he and other inmates had to use the restroom. The deputy was then heard to have

responded saying, “Too fuckin’ bad!” Plaintiff Gurule then asked, “What do you want us to do,

piss and shit on the floor?” The deputy was heard to respond saying, “Go ahead, you’ll clean it

up.”

       39.     The unprofessional and provocative behavior exhibited by Defendant Caldwell

led to a further exchange of impolite and less than decorous insults being thrown around.

Defendant Caldwell left the area after the undignified exchange of insults concluded, but not

before he “flipped off” the inmates and in particular, Plaintiff Gurule.

       40.     Soon thereafter, Defendant Caldwell returned to the programs room with other

officers (Defendant Doe(s)) by his side. Defendant Caldwell was heard to be cursing as he



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arrived, stating, “Where’s that pussy at?” and “Which one of you pussies want to talk some more

shit?” He was described by other witnesses as acting “hysterically” and “really pissed off.”

       41.     Upon his reentry into the programs room, Defendant Caldwell, without issuing

any warning, immediately assaulted Inmate Robert Blanchard, who had been standing by the

entranceway. Defendant Caldwell was heard to have called Blanchard “a little faggot” during

this assault and was seen grabbing Inmate Blanchard so brutally, that he literally pulled the

inmate out of his shoes before knocking him out of the way, leaving his shoes lying on the floor.

       42.     Next, Defendant Caldwell, more enraged and still hysterical according to one

witness, moved immediately toward Plaintiff Gurule, who was seated in a chair away from the

entranceway. According to witnesses, Plaintiff Gurule made no verbal or physical threat or

gesture toward or against Defendant Caldwell or anyone else as Defendant Caldwell madly

approached.

       43.     In the presence of at least 19 witnesses, Defendant Caldwell, without immediate

provocation, viciously struck Plaintiff Gurule with both fists while taking hold of his shirt,

knocking Plaintiff Gurule back against the wall. Defendant Caldwell then violently and

deliberately jerked Plaintiff Gurule up from the chair and without forewarning swung Plaintiff

Gurule over Defendant’s own shoulder slamming Plaintiff Gurule down to the ground below.

       44.     That action caused Plaintiff Gurule, who never offered any resistance during this

assault, to suffer severe permanent physical injuries and damages to his person, particularly to

Plaintiff Gurule’s left shoulder, elbow and jaw.

       45.     Two deputies roughly escorted the injured Plaintiff Gurule out of the room. A

witness described Plaintiff Gurule being slammed to the floor, with the witness saying out loud



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to several Defendants, “Hey you don’t have to do that.” This witness stated that he was told to

“Mind your own business!”

        46.    Another witness described Defendant Caldwell as “dragging inmate Gary next to

where I was at….” The Witness stated further that Defendant Caldwell “told [the already

injured] Gary, ‘Turn around and I will smash your face in.’”

        47.    All other inmates were then directed back to their pods. Plaintiff Gurule and

Inmate Blanchard were held in separate rooms next to the programs room. A witness stated that

he tried to look at the name on Defendant Caldwell’s badge. The witness further stated that

Defendant Caldwell looked at him and said, “The name is Caldwell and he spelled it out:

“C.A.L.D.W.E.L.L.” He said Defendant Caldwell stated further, “And don’t misspell it.”

        48.    Plaintiff Gurule, without reasonable provocation, thus became the victim of

Defendant Caldwell’s pre meditated and intentional act of assault and battery.        Defendant

Caldwell, who is known to be part of the jail’s “slam crew,” physically assaulted and

permanently injured Plaintiff Gurule, who merely needed and asked to use the restroom during

an extended “shakedown” period at the jail. Further, the shakedown would have been

unnecessary if Defendants had adopted and employed proper procedures for distributing and

counting razors.

        49.    The unprovoked assault and battery perpetrated upon Plaintiff Gurule by

Defendant Caldwell was not necessary to control Plaintiff Gurule or to maintain order or safety

in the jail.

        50.    Following the brutal, unprovoked assault described above, jail personnel failed to

provide adequate treatment in a reasonable timely fashion, despite Plaintiff Gurule’s assertion



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that he was badly injured, which exacerbated and aggravated the injuries and damages Plaintiff

Gurule sustained in this attack.

        51.    Plaintiff Gurule was not permitted to see a doctor and was only permitted to see

the nurse or physician’s assistant (P.A.), despite the worsening of his injuries and Plaintiff

Gurule’s repeated complaints of continuous suffering due to those injuries.

        52.    Defendants further exacerbated the injury to Plaintiff Gurule’s left shoulder by

failing to properly evaluate his condition and instructing him to keep his arm in a sling for 11

days.

        53.    It is customary for a person to remain in a sling under such circumstances for not

more than 72 hours.

        54.    Officials did not take Plaintiff Gurule for x-rays until the day before his release,

11 days after the attack, despite his repeated informing of officials inside ACDF that his pain

was severe and unremitting. Further, if any assessment of Plaintiff Gurule’s medical condition

was ever made, Plaintiff Gurule never received any information or records despite repeated

requests.

        55.    Defendants did not provide Plaintiff Gurule with the proper pain medicine for his

injuries. Despite being informed by Plaintiff Gurule and having knowledge of Plaintiff Gurule’s

pain, defendants chose to ignore him and did not provide adequate or proper care to address his

injuries or his pain and suffering. Defendants provided him only with extra blankets to lift up his

left arm.

        56.    Mostly, defendants refused to attend to Plaintiff Gurule’s medical condition.

PA’s or nurses were at times available for consultation but never a doctor. Plaintiff Gurule



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learned that doctors were only available to see inmates when there were enough inmates in need

of seeing the doctor at one time. The result is that inmates housed in ACDF are absurdly kept

suffering in pain until they number enough to warrant a doctor becoming available.

       57.     When Plaintiff Gurule was ultimately seen by a PA or nurse it was based on the

request of Officer Marshall of the B-Unit, who would call down to medical and request that

Plaintiff Gurule be seen due to his pain. Otherwise Plaintiff Gurule’s personal requests to be seen

and treated were just ignored despite his suffering.

                                 FIRST CLAIM FOR RELIEF
                                  Violation of 42 U.S.C. § 1983
                                 (Against Individual Defendants)

       58.     Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-57.

       59.     42 U.S.C. § 1983 provides that:

               Every person, who under color of any statute, ordinance, regulation, custom or
               usage of any state or territory or the District of Columbia subjects or cause to be
               subjected any citizen of the United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges or immunities secured by the
               constitution and law shall be liable to the party injured in an action at law, suit in
               equity, or other appropriate proceeding for redress…

       60.     Plaintiff in this action is a citizen of the United States and all of the Defendants to

this claim are persons for the purposes of 42 U.S.C. § 1983.

       61.     Plaintiff had a clearly established right under the Eighth Amendment to be free

from having deliberate physical and psychological harm inflicted upon him, free from deliberate

indifference to his known serious medical needs and to receive proper medical care while in

custody.

       62.     Plaintiff has a constitutionally protected right to be secure in his person and to be

free from being subjected to excessive force and aggressive acts of brutality exerted by


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individuals acting under color of state law. Plaintiff also has constitutionally protected right to

be free from cruel and unusual punishment. Defendants’ actions deprived Plaintiff of these

constitutionally protected rights, in violation of 42 U.S.C. §1983.

       63.     Defendants’ actions as referenced herein were motivated by an intent to cause

physical and emotional harm to Plaintiff.

       64.     All individual Defendants to this claim, at all times relevant hereto, were acting

under the color of state law.

       65.     On information and belief, all individual Defendants to this claim, at all times

relevant hereto, were acting and/or failing to act pursuant to municipal/county custom, policy,

decision, ordinance, regulation, habit, usage, or practice in the conduct pertaining to Plaintiff

Gurule and/or in concert or as willful joint participants in unconstitutional activity with the

Defendant Adams County, Defendant Darr in his official capacity as the Sheriff of Adams

County and the other members of the Adams County Sheriff’s Department, identified as John or

Jane Doe.

       66.     Individual Defendants were aware that brutally assaulting Plaintiff would cause

severe debilitating injuries and the individual Defendants knew that following the vicious assault

Plaintiff was badly injured and, on information and belief, acting in concert through its policy

makers, denied him appropriate and timely medical treatment. The individual Defendants did so

with deliberate indifference and despite being expressly aware of Plaintiff’s known serious

medical needs and recklessly disregarding a substantial risk of further and exacerbated physical

harm to Plaintiff.




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          67.   Individual Defendants continued to act in bad faith and with deliberate

indifference to Plaintiff’s serious medical needs and constitutional rights by first, assaulting and

battering him causing severe permanent injury and then again, when they willfully ignored his

repeated requests for medical attention and intentionally denied and/or delayed his access to

proper and appropriate medical care under the circumstances.

          68.   On information and belief, individual Defendants’ actions were undertaken in bad

faith and indicate a willful and wanton disregard and deliberate indifference to Plaintiff’s civil

rights.

          69.   Since the actions of the Defendants against the Plaintiff were willful and wanton,

done with actual malice and deliberate indifference to the rights of the Plaintiff, Plaintiff is

entitled to exemplary damages.

          70.   Each of the individual Defendants is individually liable to the Plaintiff for

violation of 42 U.S.C. § 1983.

          71.   The acts or omissions of all individual Defendants were conducted within the

scope of their official duties or employment.

          72.   The acts or omissions of all individual Defendants were moving forces and

substantial, significantly contributing proximate causes of Plaintiff’s injuries.

          73.   The acts or omissions of Defendants as described herein intentionally deprived

Plaintiff of his constitutional rights and caused him other damages.

          74.   As a direct result of Defendants’ unlawful conduct, Plaintiff has suffered injuries,

damages and losses as described herein, entitling him to compensatory and special damages,

including attorney’s fees in amounts to be determined at trial. As a further result of the



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Defendants’ unlawful conduct, Plaintiff has incurred significant special damages, including

medically related expenses, and will continue to incur further medically related expenses in

amounts to be determined at trial. He has also suffered lost past and future earnings and impaired

earnings capacities in ongoing amounts to be ascertained at trial. Plaintiff is further entitled to

attorney’s fees and costs pursuant to 42 U.S.C. § 1988, pre-judgment interest and costs as is

allowable by federal law.

       75.     In addition to compensatory, economic, consequential and special damages,

Plaintiff is entitled to punitive damages against each of the individually named Defendants under

42 U.S.C. § 1983, in that the actions of each of these individual Defendants have been taken

maliciously, willfully, or with reckless disregard of the constitutional rights of Plaintiff.

                               SECOND CLAIM FOR RELIEF
                                  Violation of 42 U.S.C. § 1983
  (Against Defendants Board of County Commissioners for the County of Adams; Douglas N.
     Darr in his official capacity as the Sheriff of Adams County; Prison Health Services,
            Incorporated; and John and Jane Does 1-10 in their official capacities)

       76.     Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-75

       77.     42 U.S.C. § 1983 provides that:

               Every person, who under color of any statute, ordinance, regulation, custom or
               usage of any state or territory or the District of Columbia subjects or cause to be
               subjected any citizen of the United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges or immunities secured by the
               constitution and law shall be liable to the party injured in an action at law, suit in
               equity, or other appropriate proceeding for redress…

       78.     Plaintiff in this action is a citizen of the United States and the defendants to this

claim are persons for the purposes of 42 U.S.C. § 1983.

       79.     Plaintiff had a clearly established right under the Eighth Amendment to be free

from a vicious, premeditated, intentional and brutal assault and battery perpetrated on his person


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and free from deliberate indifference to his known serious medical needs and to proper medical

care while in custody.

       80.     Further, the County and the Sheriff, under C.R.S. § 16-3-401 owe a duty to ensure

that “prisoners arrested or in custody shall be treated humanely and provided with adequate food,

shelter, and, if required, medical treatment.”

       81.     Defendants Adams County, Darr in his official capacity as the Sheriff of Adams

County, and PHS are sued herein for their deliberately indifferent and reckless policies,

practices, habits, customs and widespread usages and joint willful action in concert with respect

to custody of prisoners and appropriate and reasonable use of force, with respect to custody of

prisoners with known serious medical treatment and urgent care needs like Plaintiff Gurule to

protect them from further exacerbating injuries sustained after being subject to a vicious

premeditated physical assault upon them, and for their deliberately indifferent failures in training

and supervising the individual Defendant employees, agents and contractors.

       82.     The Defendants to this claim at all times relevant hereto were acting under the

color of state law.

       83.     On information and belief, the Defendants to this claim at all times relevant hereto

were acting pursuant to municipal/county custom, policy, decision, ordinance, regulation,

widespread habit, usage, or practice in its actions pertaining to Plaintiff. Defendants’ action in

this regard is evidenced by that pattern of bad faith indifference to the inhumane treatment and to

the medical needs and constitutional rights of detainees among multiple staff as directed toward

Plaintiff and other inmates.




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       84.     Defendants Adams County and/or Darr, in his official capacity as the Sheriff of

Adams County acting for the Defendant Adams County and the Adams County Sheriff’s

Department as county custodians of prisoners at ACDF, have a nondelegable duty to provide

adequate medical services to an inmate in Defendants’ custody.

       85.     Further, by their complained of series and pattern of intentional actions and

inactions, de facto policies, customs, habits, usages, and decisions, these Defendants acted or

failed to act in bad faith and with deliberate indifference to the inhumane treatment of and to the

obvious serious medical needs of patients and inmates as is detailed in the statement of facts for

Plaintiff as well as from at least 19 witnesses and with respect to Plaintiff’s right to be free from

unwarranted physical assault and emotional abuse perpetrated upon his person by sheriff

deputies, including Defendant Caldwell, and Plaintiff’s right to receive appropriate medical

treatment in a timely and humane fashion after having been assaulted.

       86.     On information and belief, Defendants knew that potentially serious consequences

could be suffered by such individuals (including Plaintiff Gurule) by their challenged policies

and practices and by their failures to properly train and supervise sheriff deputies and failure to

properly train and supervise medical care and/or develop adequate policies.

       87.     Defendants’ policies, customs, and/or practices in failing to properly train and

supervise their employees and/or agents and contractors and/or regarding professional conduct,

proper use of force, and providing humane medical care were also moving forces and substantial

significantly contributing proximate causes of the profound violation of Plaintiff’s constitutional

rights as an inmate at ACDF.




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        88.     The acts or omissions of these Defendants, as described herein, deprived Plaintiff

of his constitutional rights and caused him other damages.

        89.     As a direct result of Defendants’ unlawful conduct, Plaintiff has suffered injuries,

damages and losses as described herein entitling him to compensatory and special damages,

including attorney’s fees in the amounts to be determined at trial. As a further result of the

Defendants’ unlawful conduct, Plaintiff has incurred special damages, including significant

medically related expenses and will continue to incur further medically related expenses in

amounts to be established at trial. He has also suffered lost past and future earnings and impaired

earnings capacities in ongoing amounts to be ascertained at trial. Plaintiff is further entitled to

attorney’s fees and costs pursuant to 42 U.S.C. §1988, prejudgment interest and costs as

allowable by federal law.

        90.     In addition to compensatory, economic, consequential and special damages,

Plaintiff is entitled punitive damages against each of these private corporate Defendants under 42

U.S.C. § 1983, in that the policies, practices, actions and failures to act of each of these corporate

Defendants were undertaken maliciously, willfully, or with reckless or wanton disregard of the

constitutional rights of Plaintiff.

        91.     Finally, Plaintiff seeks appropriate declaratory and injunctive relief pursuant to 42

U.S.C. § 1983 to redress Defendants’ ongoing deliberate indifference in policies, training, and

supervision with respect to the use of professional conduct, excessive force and the serious

medical needs of patients and inmates in violation of the Eight Amendment of the Constitution.

                                 THIRD CLAIM FOR RELIEF
                                       Assault and Battery
                             (Against Defendant Caldwell, individually)



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       92.     Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-91.

       93.     The acts of Defendant Caldwell against Plaintiff Gurule were committed without

justification, were excessive and unnecessary, caused Plaintiff physical injury and a great amount

of pain, were harmful and offensive, and constitute assault and battery for which the Defendant

should be held personally liable insofar as:

               a.         The Defendant intended to cause an offensive or harmful physical contact

with the Plaintiff or intended to place the Plaintiff in apprehension of such contact;

               b.         The Defendant placed the Plaintiff in apprehension of such contact;

               c.         The contact was harmful and offensive; moreover,

               d.         The Defendant’s acts resulted in physical contact with the Plaintiff;

               e.         The Defendant intended to make harmful or offensive physical contact

with the Plaintiff; and

               f.         The contact was harmful and offensive.

       94.     The actions of the Defendant against the Plaintiff were done with actual malice

towards the Plaintiff, were willful and with deliberate indifference and disregard for the rights of

Plaintiff, entitling him to exemplary damages.

                                  FOURTH CLAIM FOR RELIEF
                             Intentional Infliction of Emotional Distress
                              (Against Defendant Caldwell, individually)

       95.     Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-94.

       96.     The brutal abuse of Plaintiff Gurule by Defendant Caldwell was extreme,

outrageous, unjustified and caused Plaintiff to suffer severe physical pain and emotional distress.




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          97.    The intentional brutal acts inflicted upon the Plaintiff by Defendant Caldwell

were unjustified and done with actual malice, wanton indifference and a deliberate disregard for

the rights of Plaintiff. Plaintiff is, therefore, entitled to exemplary damages.

                                  FIFTH CLAIM FOR RELIEF
                            Negligent Infliction of Emotional Distress
                   (Against Individual Defendants identified as John or Jane Doe)

          98.    Plaintiff hereby incorporates paragraphs 1-97 by reference.

          99.    Defendant Brian Caldwell engaged in extreme and outrageous conduct against

Plaintiff Gurule as previously alleged.

          100.   Defendants owed Plaintiff a duty of care while Plaintiff was in custody.

          101.   Defendants John and/or Jane Doe(s) also engaged in extreme and outrageous

conduct against Plaintiff Gurule intentionally, recklessly and/or negligently.

          102.   Defendants breached their duty of care through their outrageous conduct which

resulted in severe emotional distress to the Plaintiff, causing him to suffer injuries, damages, and

losses.

          103.   Plaintiff is therefore entitled to compensatory damages.

                                 SIXTH CLAIM FOR RELIEF
           Negligent Hiring and Retaining Violent and Mentally Unstable Persons
 (Against Defendants Board of County Commissioners for the County of Adams; and Douglas N.
                  Darr in his official capacity as the Sheriff of Adams County)

          104.   Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-103.

          105.   The Defendants have a policy of testing their employees and providing mental

health assistance.

          106.   During the course and scope of such policy, Defendants knew or should have

known of the violent tendencies and unstable mental condition of their employees.


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        107.    Defendants are charged with investigating allegations of brutality and assault

upon persons, such as the Plaintiff Gurule, in order to protect the public from harm.

        108.    Defendants deprived Plaintiff of his constitutional rights by negligently selecting,

giving responsibility to, and failing to control mentally unstable employees, such as Defendants

Caldwell and/or John and/or Jane Doe, who have violent tendencies.

        109.    Such negligence is the proximate cause of the deprivation of Plaintiff’s

constitutional rights.

                                SEVENTH CLAIM FOR RELIEF
                                              Negligence
   (Against Defendants Board of County Commissioners for the County of Adams; Douglas N.
    Darr in his official capacity as the Sheriff of Adams County; Brian Caldwell in his official
 capacity as sheriff deputy; Prison Health Services, Incorporated; and John and Jane Does 1-10 in
                                       their official capacities)

        110.    Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-109.

        111.    At all times relevant to this case, each Defendant owed Plaintiff Gurule the duty

to act with due care in the execution and enforcement of any right, law, or legal obligation,

including in conduct as described above.

        112.    At all times relevant to this case, each Defendant owed the Plaintiff the duty to act

with reasonable care, including in conduct as described above.

        113.    These general duties of reasonable care and duty owed to Plaintiff by Defendants

include but are not limited to the following obligations:

                a.       To refrain from using excessive or unreasonable force against the Plaintiff;

                b.       To refrain from abusing Plaintiff’s rights and/or authority granted them by

law;




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               c.      To refrain from violating the rights of the Plaintiff guaranteed by the

United States and Colorado Constitutions and law, as more fully set forth herein;

               d.      To refrain from violating lawful policies and procedures of the Adams

County Sheriff’s Department;

               e.      To refrain from violating lawful training each Defendant has received in

the course of his law enforcement career; and

               f.      To refrain from violating C.R.S. § 16-3-401 which creates a duty to ensure

that “prisoners arrested or in custody shall be treated humanely and provided with adequate food,

shelter, and, if required, medical treatment.”

       114.    Additionally, the general duties of reasonable care and due care owed to the

Plaintiff by Defendants Adams County; Darr; PHS; and John and Jane Does 1-10 include but are

not limited to the following specific obligations:

               a.      to properly and adequately investigate, train, supervise, monitor and

discipline the above-named defendants and other unknown officers, employees and agents of

Adams County, the Adams County Sheriff’s Department and PHS to ensure that the defendants

acted at all times in the public interest, with due regard for the rights and safety of others, and in

conformance with law;

               b.      to make, enforce, and at all times act in conformance with policies and

customs that are protective of individual rights and safety, including Plaintiff’s; and

               c.      to refrain from making, enforcing, and/or tolerating the wrongful conduct

set forth at paragraphs 28 through 57, above.




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        115.   Defendants, through their acts and omissions, and through their conduct described

herein, breached each and every one of the aforementioned duties and obligations owed to the

Plaintiff.

        116.   As a direct and proximate result of Defendants’ negligence, Plaintiff’s sustained

injuries and damages as set forth above, and are further entitled to economic and non-economic

damages, penalties, and costs as otherwise allowed under Colorado law.

                               EIGHTH CLAIM FOR RELIEF
                                     (Medical Malpractice)
                          (Against Prison Health Services, Incorporated)

        117.   Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-116.

        118.   Defendant fell below the standard of care for like health care providers in the

Denver Metropolitan Area in the following manner:

        119.   Despite Plaintiff Gurule’s assertion that he was badly injured, Defendant

negligently failed to provide Plaintiff with adequate treatment in a reasonable timely fashion,

which exacerbated and aggravated Plaintiff’s injuries and damages.

        120.   Defendant negligently failed to permit Plaintiff Gurule to see a doctor, permitting

him only to see a nurse or physician’s assistant (PA).

        121.   Defendant exacerbated the injury to Plaintiff Gurule’s left shoulder by negligently

failing to properly evaluate his injuries and by instructing him to keep his arm in a sling for 11

days

        122.   Despite his repeated assertions that his pain was severe and unremitting,

Defendant negligently failed to take Plaintiff Gurule for x-rays until the day before his release,

11 days after he had sustained his injuries.



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       123.    Defendant was negligent by failing to provide Plaintiff Gurule with records or

other information concerning an assessment of his medical condition, despite his repeated

requests, if an assessment was ever even made.

       124.    Defendant was negligent in failing to provide Plaintiff Gurule with the proper

pain medicine for his injuries. Despite being informed by Plaintiff Gurule, and having

knowledge of his pain, defendant chose to ignore him and did not care about his injuries or his

pain and suffering, providing him only extra blankets to lift up his left arm.

       125.    Defendant was negligent in their care of Plaintiff Gurule by maintaining a policy

whereby inmates are only seen by a doctor, rather than by a PA or nurse, when there are enough

inmates in need of seeing doctors at one time. The result of that policy is that inmates, such as

Plaintiff Gurule housed in ACDF, are without the ability to be seen by a doctor unless there

happens to be enough inmates in number to warrant a doctor becoming available.

       126.    Defendant was negligent when they ignored Plaintiff Gurule’s personal requests

to be seen despite his pain and suffering. Plaintiff Gurule was ultimately seen by a PA or nurse

but only following the request of Officer Marshall of the B-Unit, who called down to medical

and requested Plaintiff Gurule be seen due to his pain and suffering.

       127.    As a direct and proximate result of the medical malpractice of the Defendant,

Plaintiff experienced physical pain and mental suffering. Plaintiff has suffered injuries including,

but not limited to those injuries described above. Certain of these injuries, including the injury to

his left shoulder will be permanently painful, disabling and incapacitating. In an effort to relieve,

treat and cure his injuries, Plainitff has required medical and hospital services and, as a result of

the permanent nature of his injuries will in the future require additional medical services and



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may be required to incur medical expenses in the future. Plaintiff has suffered a loss of earnings

and will continue to lose earnings in the future. In addition, Plaintiff has suffered a loss of

enjoyment of life and will continue to suffer a loss of enjoyment of life.

       128.    As a further direct and proximate result of Defendant’s negligence, Plaintiff has

suffered extreme physical pain and mental anguish. The Plaintiff has thus been damaged in the

amount to be established at trial.

                                NINTH CLAIM FOR RELIEF
                                     (Respondeat Superior)
  (Against Defendants Board of County Commissioners for the County of Adams; Douglas N.
     Darr in his official capacity as the Sheriff of Adams County; Prison Health Services,
            Incorporated; and John and Jane Does 1-10 in their official capacities)

       129.    Plaintiff incorporates by reference all allegations as set forth in paragraphs 1-128.

       130.    Defendants Adams County and PHS are legally responsible to the Plaintiff for any

harm caused by its employees or agents while acting within the course and scope of their

employment or agency.

                                     PRAYER FOR RELIEF

       Plaintiff prays that this Court enter judgment for the Plaintiff and against each of the

Defendants and enter the following relief:

       1.      Award Plaintiff all past and future compensatory, non economic, consequential

and economic damages as proven at trial against all the Defendants;

       2.      Award Plaintiff special damages as proven at trial;

       3.      Award Plaintiff punitive damages relating only to the federal claims brought in

this matter against individual Defendants and private corporate Defendants;




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        4.      Award Plaintiff attorney’s fees and costs pursuant to the provisions of 42 U.S.C. §

1988;

        5.      Award Plaintiff attorney’s fees and costs as provided for under all applicable

federal and state statutes;

        6.      Award Plaintiff interest from the earliest possible date under appropriate federal

and state statutes;

        7.      Grant a preliminary and permanent injunction and corresponding declaratory

relief pursuant to F.R.C.P. 57 and 65 compelling entity Defendants to develop and implement

constitutional policies, training and supervision of their agents and employees for the care and

treatment of incarcerated persons with respect to professional conduct and treatment of said

persons, acceptable and proper use of force, and attention to the serious and urgent care needs of

incarcerated persons, including the timely transfer of such persons for proper medical attention

when needed; and

        8.      All other appropriate relief at law and equity.

                                 DEMAND FOR JURY TRIAL

        Plaintiff demands the right to have a jury decide at trial all issues raised by his Complaint

that are triable to a jury as a matter of right pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure.

        Respectfully submitted this 22nd day of October, 2010

                                                         /s Joseph Oliva, Jr.
                                                         Joseph Oliva, Jr.
                                                         R.E. Chips Portales
                                                         Law Office of Portales & Associates, P.C.




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